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CURRICULUM VITA
MARK P. ZAPOROWSKI

OFFICE ADDRESS

Department of Economics & Finance
Canisius College

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DATE OF BIRTH January 25, 1957
CITIZENSHIP U.S.A.
EDUCATION
Ph.D. 1985 State University of New York at Albany
Economics
M.A. 1981 State University of New York at Albany
Economics
B.S. 1978 State University College of New York at Oswego
Economics, cum laude
AREAS OF SPECIALIZATION

Macroeconomics, Monetary Economics, Econometrics, Forensic Economics

PROFESSIONAL EXPERIENCE
september 1995 - Present Professor of Economics & Finance
Canisius College
Buffalo, NY
August 2010 - Present Chairman
Department of Economics & Finance
January 2008 — July 2008 Acting Chairman

Department of Economics & Finance

September 1990 - September 1995 Associate Professor of Economics & Finance
Canisius College

September 1984 - September 1990 Assistant Professor of Economics & Finance
Canisius College

September 1981 - September 1984 Lecturer, Department of Economics
State University of New York at Albany
Albany, NY

July 1981 - September 1982 Graduate Research Assistant
New York State Division of Budget
Fiscal Planning Unit, Albany, NY
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PUBLICATIONS
“Issues in the Sustainability of the Medicare Program,” New York Economic Review,
(with L. Lichtenstein), Fall 2015, pp. 35-52.

“Determinants of Municipal Bond Ratings for General Purpose Governments: An
Empirical Analysis,” Public Budgeting and Finance, (with G. Palumbo), Vol. 32, No. 2,
2012, pp. 86-102.

“Optimization Techniques for College Financial Aid Managers,” Journal of Student
Financial Aid, (with D. Bosshardt, L. Lichtenstein and G. Palumbo), Vol. 40, No. 3, 2010,
pp. 39-57.

“Litigation Explosion: The Unintended Consequences of New York State Tort Reform,”
Business Research Consortium Journal of Business, (with L. Lichtenstein), Vol. 1, No.
1, 2010, pp. 161-176.

“An Empirical Analysis of Municipal Bond Ratings for New York State Genera! Purpose
Governments,” Business Research Consortium Journal of Business, (with K.List and G.
Palumbo), Vol. 1, No. 1, 2070, pp. 65-80.

“A Model of College Tuition Maximization,” Contemporary Issues in Educational
Research, First Quarter 2009, pp. 53-69, (with D. Bosshardt and L. Lichtenstein)

“Optimal Tuition Pricing with a Linear Probability Model,” Journal of Business and
Economic Studies, Spring 2008, pp. 41-49, (with D. Bosshardt and L. Lichtenstein}

“Factors Affecting a Municipality's Bond Rating: An Empirical Study,” Journal of
Business and Economics Research, November 2006, pp. 37-42, (with G. Palumbo and
R. Shick}

“The Valuation of Human Capital in New York State Courts,” New York Economic
Review, Fall 2005, pp. 3-12, (with L. Lichtenstein)

"Cross-Disciplinary Teaching in High School Economics," Social Education, April/May
1994, pp. 226-229, (with J. Eisenhauer)

"Secondary Economics and Teacher Training in New York State," New York Economic
Review, Spring 1992, pp. 15-27, (with J. Eisenhauer, G. Palumbo and L. Lichtenstein)

"Real Interest Rates and the Role of Expectations," Current Issues in Monetary
Economics, edited by T. Bandyopadhyay and S. Ghatak, Harvester Wheatsheaf Books
Ltd., London, 1990, pp. 92-112, (with K. Lahiri)

"Interest Rates and the Subjective Probability Distribution of Inflation Forecasts,"
Journal of Money Credit and Banking, 1988, pp. 233-248, (with K. Lahiri and C.
Teigland)

"A Comparison of Alternative Real Rate Estimates,” Oxford Bulletin of Economics and
Statistics, 1988, pp. 303-312, (with K. Lahiri)
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"On More Flexible Use of Survey Data on Expectations in Macroeconomic Models,”
Journal of Business and Economic Statistics, 1987, pp. 69-76, (with K. Lahiri)

"On the Variability of Real Interest Rates, Business Cycles, and the Livingston Data,"
Journal of Banking and Finance, 1984, pp. 483-490, (with K. Lahiri)

PROCEEDINGS & OTHER PUBLICATIONS

“ An Empirical Analysis of Municipal Bond Ratings for General Purpose Governments:
2006 — 2014,” Proceedings of the Business Research Consortium of Western New York
2017, (with J. A. Golebiewski and G. Palumbo), forthcoming.

“Issues in the Sustainability of the Medicare Program,” Proceedings of the Business
Research Consortium of Western New York 2013, (with L. Lichtenstein), Vol. 2, pp. 45-

“An Empirical Analysis of the Municipal Bond Ratings for General Purpose
Governments in New York State,” Proceedings of fhe Business Research Consortium of
Western New York 2009, (with K. List and G. Palumbo), pp. 114-119.

“Litigation Explosion: The Unintended Consequences of New York State Tort Reform,”
Proceedings of the Business Research Consortium of Western New York 2008, (with L.
Lichtenstein), pp. 323-338.

“Optimal Tuition Pricing with a Linear Probability Model,” Proceedings of the Northeast
Business and Economics Association Conference 2006, pp. 40-44, (with D. Bosshardt
and L. Lichtenstein)

Wesiern New York Economic News, 1998-2012, Volumes 1-15, (with G. Palumbo)

"Inflation Uncertainty and Interest Rates," The Proceedings of the American Statistical
Association, Business and Economic Statistics Section, 1987, pp. 431-435, (with K.
Lahiri and C. Tiegland)

"On the Equality of Real interest Rates Across Countries: 1975-1985 Deutsche
Mark/Dollar," The Proceedings of the American Statistical Association, Business and
Economic Statistics Section, 1986, pp. 92-95, (with K. Lahiri)

"A Model for the Ex-Ante Real Interest Rate," The Proceedings of the American
Statistical Association, Business and Economic Statistics Section, 1985, pp. 98-102,
(with K. Lahiri and T. Kinal)

"Inflation, Expectations and Real Interest Rates," The Proceedings of the American
Statistical Association, Business and Economic Statistics Section, 1984, pp. 473-476,
(with K. Lahiri)

RESEARCH IN PROGRESS

“Proposed Changes in Social Security Law and Their Effect on Recipient Benefits”
“Forecasting Municipal Bond Ratings”

“Easy Access to Data for Classroom Use”
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HONORS AND AFFILIATIONS

President's Award for Distinguished Doctoral Dissertation, SUNY-Albany, 1985
Member of the American Economic Association

Member of the National Association of Forensic Economics

Member of Omicron Deita Epsilon, International Honor Society in Economics
Member of Beta Gamma Sigma, Business Honor Society

Wehle School of Business Undergraduate Professor of the Year 2009

PROFESSIONAL ACTIVITY

“ An Empirical Analysis of Municipal Bond Ratings for General Purpose Governments:
2006 — 2014,” Presented at Business Research Consortium of Western New York
Conference, April 2017

“Issues in the Sustainability of the Medicare Program," Presented at Business Research
Consortium of Western New York Conference, April 2013

Discussant, Business Research Consortium of Western New York Conference, April
2013

“An Empirical Analysis of the Municipal Bond Ratings for General Purpose
Governments in New York State,” Presented at Business Research Consortium of
Western New York Conference, April 2009

“Litigation Explosion: The Unintended Consequences of New York State Tort Reform,”
Presented at Business Research Consortium of Western New York Conference, April
2008

Discussant, Business Research Consortium of Western New York Conference, April
2008

“A Model of Expected Net Tuition Maximization,” presented at the Midwest Economics
Association Conference, Minneapolis, MN, March 2007

“Optimal Tuition Pricing with a Linear Probability Model,” Presented at the Northeast
Business and Economics Association Conference, Port Jefferson, NY, October 2006
“Structured Settlements in Personal Injury Cases under the New York State Article 50-B
Statute: Economic Justice for the Plaintiff?” Presented at the Annual Meeting of New
York State Economics Association, Geneva, NY, October 2005

“The State of the Upstate Metropolitan Areas: Economic Decline and its Public Finance
Implications" Presented at the Annual Meeting of New York State Economics
Association, Geneva, NY, October 2005

"A Simple Theory of Optimal Tuition Pricing" Presented at the Annual Meeting of New
York State Economics Association, Ithaca, NY, October 2004

"Valuing Professional Licenses and Practices in New York State" Presented at the
Annual Meeting of the New York State Economics Association, Buffalo, NY, October
2002

Discussant, New York State Economics Association Annual Meeting, October 2001
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"Inflation Uncertainty and Interest Rates”
Presented at Annual Meeting of the American Statistical Association, San Francisco,
CA, August 1987

"On the Equality of Real Interest Rates Across Countries"

Presented at Annual Meeting of the American Statistical Association, Chicago, IL,
August 1986

"A Model for the Ex-Ante Real Interest Rate”
Invited Presentation at Annual Meeting of the American Statistical Association, Las
Vegas, NV, August 1985

"Inflation Expectations and Real Interest Rates”
Presented at Annual Meeting of the American Statistical Association, Philadelphia, PA,
August 1984

Referee — New York Economic Review

Journal of Forensic Economics
Business Research Consortium Journal of Business

TEACHING INTERESTS

Principles of Macroeconomics Principles of Microeconomics
Intermediate Macroeconomics Macroeconomics for Managers

Business Statistics Regression and Forecasting for Managers
Econometrics Money and Banking

Financial Institutions and Markets Principles of Finance

Fixed Income Securities

PROPRIETARY RESEARCH & CONSULTING

1991 - Economic Valuation - Expert Witness
Economic valuation in litigation concerning wrongful death and disability.
Economic valuation of college degrees and professional licenses in
divorce (O'Brien) litigation.
Economic valuation of pensions.
Economic valuation of closely held business enterprises.

1993 - Statistics - Expert Witness
Analysis of statistical evidence in employment discrimination and labor
litigation.
General Motors Corporation
University of Rochester
Sutherland Group
North American Health Plan

1994 - Statistical Process Control, Curtis Screw Inc., Buffalo, NY
Consultant in the application of Statistical Process Control.
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1995 -

2004 -

2008 -

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Econometric Modeling Consultant
Developed an econometric forecasting model of matriculation probabilities
for applicants to Canisius College.

Labor Market Consultant
Analyzed trends in the labor market for RN’s, LPN’s and Nurse’s Aides at
62 Western New York Nursing homes.

Forecasting Consultant
Developed an econometric forecasting model of default probabilities for
the loan portfolio held by the MeriCap Credit Corporation
